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‘To Whom It May Concern

My name is Marcel Munyanziza; [ am American Citizen, born in Rwanda in March 1971. 1 am married to Claudette
Munyanziza, and we have 2. Children Audrey, 7 years old and Elyin 5 years old. We all live together at 99 Thomastown
Road, Mine Hill) NJ 07803. Iam a Cytofechnologist by profession, and I work full time at Miraca Life Sciences in Union,
New Jersey,

I met Jean Leongrd Teganya for the first time in 1992, when we were both attending Rwanda National University in Butare,
Riwanda. He. was in Medical school, studying fo become a physician; I was in Business School, studying to become an
Accountant, Me. Teganya and I became friends because we were going to the same Catholic Church for Sunday masses.
Several times after mass we stopped for lunch and had random conversations about different subjects, which allowed me to
know him well. Occasionally I visited him off carpus where he lived and sometimes, he would visit me in my dorm room,
‘Gradually, I found out that Mr. Teganya and.I had several things in common, among those were taking school seriously,
honesty, being disciplined and reliable, so we became friends, 1 also found out that he attended the.-same secondary seminary
‘school. as two of) my hometown neighbors and friends..Since then, our friendship only got stronger. Unfortnnately, in 1994,
the eivil war broke up.in Rwanda; many people got exiled in neighboring countries, and all over the world. Mr. Teganya and

Llost track of each other for a while.
.
Jy 1999, I was ini Madagascar when I met Miss Nicole Gahamanyi, who claimed she was Mr. Teganya’s girlfriend, She toid

meé.she met himin a refugee, camp néar Bukawi, in Democratic Républic of Congo (DRC). Miss Gahamatiyi later went to
Canada, and ¥ came to the United States, but we stayed in touch. In 2005, Nicole and Jean Leonard got iazried in Montreal:
-Catiada and gave me the honor of being the best man during their wedding ceremony. Our friendshiyy didn’t end there. When
my daughter Andrey was baptized in 2008, my wife Claudette and I picked Nicole and Jean Leonard Teganya to bé the
‘Godparents of my daughter, which they accepted.

Tknew that Jean Leonard had bad difficulty obtaining papers in Canada, and In August 2014, I was shocked to learn from his
wife: Nicole that Mr. J. L Teganya was in US border protection agency custody after he decided to seek asylum in USA,
Therefore, as a concerned citizen and friend, { am telling this story to pledge how much trust T have placed in Mr. Teganya
throughout the years of our friendship, I see Mr, Teganya as a great role model for my children and friends, and can be one
for many more who will get to know him. I know Mr. Teganya as a hard worker, a good father to his two children, Boris and
Migacl, a loving husband to his wife Nicole and an honest man, Not only Jean Leonard Teganya has close family members
‘inthe USA, he also has.a large circle of friends. He is a harmless person, he grew ap a Christian, and [ know he him as a God
fearing man, He has been a lav abiding individual and I don’t expect otherwise.

I pledge that if you allow Mr., Teganya to stay outside of detention while he pursues his asylum seeking procedure, he will
obey the jaw; and ho will not-cause any danger to the citizens of our country.

If ygu have.any question, please do not hesitate to contact me at 201-926-5219

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